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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
                     v.                          )      Case No. CR-21-95-D
                                                 )
KARIN TREISTER,                                  )
                                                 )
                     Defendant.                  )

                                         ORDER

       Before the Court is Defendant Karin Treister’s and the Government’s Joint Motion

for Combined Plea and Sentencing [Doc. No. 126], which was filed pursuant to LCrR 11.1.

The Parties have submitted Ms. Treister’s executed plea papers for the Court’s review and

consideration.

       Under the circumstances, and for reasons fully set forth in the Joint Motion, the

Court finds that the Motion should be granted. In this case, the parties have entered into a

plea agreement pursuant to FED. R. CRIM. P. 11(c)(1)(C), and Ms. Treister has signed a

plea agreement and completed a petition that provide for her plea of guilty to a lesser

offense than the one charged in the Superseding Indictment. [Doc. No. 65]. The Court finds

that a presentence investigation report would assist the Court in considering whether to

accept or reject the parties’ agreement. By requesting a combined plea and sentencing

proceeding, Ms. Treister has waived any right under FED. R. CRIM. P. 32(e)(1) to delay

disclosure of a presentence report until she has pleaded guilty.
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      IT IS THEREFORE ORDERED that the Joint Motion for Combined Plea and

Sentencing [Doc. No. 126] is GRANTED. The Court directs the United States Probation

Office to conduct a presentence investigation, prepare a presentence report, and disclose

the report as provided by FED. R. CRIM. P. 32 as soon as practicable.

      IT IS SO ORDERED this 16th day of September, 2021.




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